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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

                           MINUTES OF JURY TRIAL

DATE: September 27, 2022           DAY: 2         CASE NO.: 18-cv-966-SMY

PRESIDING: HONORABLE STACI M. YANDLE


CATHERINE ALEXANDER,               )       REPORTER: Chris LaBuwi
                                   )       COURTROOM DEPUTY: Stacie Hurst
              Plaintiff,           )
                                   )       CIVIL: X
v.                                 )
                                   )       TIME: 8:56 a.m. – 4:21 p.m.
TAKE-TWO INTERACTIVE               )
SOFTWARE, INC., et al.,            )
                                   )       RECESS: 10:44 – 11:06 a.m.; 11:55 a.m. -
              Defendants.          )       12:36 p.m.; 1:25 – 1:49 p.m.; 3:00 – 3:15 p.m.


APPEARANCES:
COUNSEL FOR PLAINTIFF: Anthony Simon, Paul Tahan, Anthony Friedman, Seth
Crompton

COUNSEL FOR DEFENDANTS, Take-Two Interactive Software, Inc., 2K Games,
Inc., 2K Sports Inc., Visual Concepts Entertainment: Dale Cendali, Michael Nester,
Joshua Simmons, Miranda Means, Chris Ilardi

COUNSEL FOR DEFENDANTS, World Wrestling Entertainment, Inc.: Curtis Krasik,
Michael Nester

This matter is called for day 2 of jury trial.

PLAINTIFF’S WITNESSES:
(1) Jose Zagal (continued from 9/26/2022)         time:   9:02 a.m. – 11:10 a.m.
(2) Mark Little (video deposition)                time:   11:10 a.m. – 11:50 a.m.
(3) Edward Kiang (video deposition)               time:   12:38 p.m. - 1:24 p.m.
(4) Catherine Alexander                           time:   1:51 p.m. – 3:42 p.m.
(5) Chris Snyder (video deposition)               time:   3:43 p.m. – 4:00 p.m.
(6) Ryan Clark                                    time:   4:01 p.m. – 4:18 p.m.
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PLAINTIFF’S ADMITTED EXHIBITS:
25, 153, 154, 155, 29, 30, 31, 32, 33, 35, 57, 58, 55, 11, 4, 83, 80, 2, 5, 3, 81, 1, 82, 84, 26, 27,
28, 38

DEFENDANTS’ ADMITTED EXHIBITS:
28, 16, 11, 10, 153, 5, 24, 85, 103

Evidence entered.

Jury trial set to reconvene September 28, 2022, at 9:00 a.m. in the East St. Louis
Courthouse before Judge Staci M. Yandle.




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